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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                            Chapter 11

    YELLOW CORPORATION, et al.,1                                      Case No. 23-11069 (CTG)

             Debtors.                                                 (Jointly Administered)

                                                                      Ref. Docket No. 1851

                                    CERTIFICATE OF SERVICE

I, AMY HENAULT, hereby certify that:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the
   age of eighteen years and am not a party to the above-captioned action.

2. On January 22, 2024, I caused to be served the “Second Amended Notice of Agenda for
   Hearing Scheduled on January 22, 2024 at 2:00 p.m. (Prevailing Eastern Time), Before the
   Honorable Craig T. Goldblatt at the United States Bankruptcy Court for the District of
   Delaware, Located at 824 North Market Street, 3rd Floor, Courtroom No. 7, Wilmington,
   Delaware 19801,” dated January 22, 2024 [Docket No. 1851], by causing true and correct
   copies to be:

      a. enclosed securely in separate postage pre-paid envelopes and delivered via first class
         mail to those parties listed on the annexed Exhibit A,

      b. delivered via electronic mail to those parties listed on the annexed Exhibit B, and

      c. delivered via electronic mail to: gdick@coochtaylor.com, and
         bberliner@centralstatesfunds.org.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                       /s/ Amy Henault
                                                                       Amy Henault



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
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                    EXHIBIT A
                                                Yellow Corporation
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                                                    Service List
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                                  Total Creditor count 24




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                    EXHIBIT B
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